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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND
                                       Northern Division


                                                     *
   Transatlantica Commodities Pte Ltd..
                                                     *
   Plaintiff
   v.                                                *    Civil Action No. 1:22-CV-01275-RDB
                                                          IN ADMIRALTY
   Hanwin Shipping Limited,                          *

   Defendant, in personam                            *

   And Cargo Carried in Hold 5 of the M/V            *
   Tac Imola, consisting of Approximately
   3572.437 mt of plywood,                           *

   Defendant in rem.
     *      *        *       *       *       *        *      *       *      *         *     *       *

          ENTRY OF RESTRICTED APPEARANCE PURSUANT TO ADMIRALTY RULE E(8).

           NOW COMES Defendant, Hanwin Shipping Limited, by and through undersigned

   counsel, and enters its restricted appearance in this matter pursuant to Rule E(8) of the

   Supplemental Rules for Admiralty or Maritime Claims.              Whereas Plaintiff Transatlantica

   Commodities Pte. Ltd. has issued process quasi in rem for attachment and garnishment of

   Defendant Hanwin’s tangible and intangible property within the District, Defendant Hanwin

   expressly restricts its appearance to the defense of such claims, and specifically reserves all rights

   with respect to this Honorable Court’s exercise of jurisdiction over its person.




Respectfully submitted July 8, 2022.

                                                          /S/ Gregory R. Singer, Esq.

                                                          Gregory R. Singer, Esq. (Bar # 19314)
                                                          Lochner Law Firm, P.C.

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                                                       91 Main Street, 4th Floor
                                                       Annapolis, Maryland 21401
                                                       (410) 716-4400
                                                       gsinger@boatinglaw.com

                                                       Counsel for Defendant Hanwin Shipping
                                                       Limited.

Of Counsel:

Brian P. Maloney, Esq.
Bruce G. Paulsen, Esq.
Seward & Kissel LLP
One Battery Park Plaza
New York, NY 10004
Tel: (212) 574-1448
Fax: (212) 480-8421




                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 8, 2022, I electronically filed the foregoing Restricted

Appearance with the Clerk of the Court using the CM/ECF Filing system, which will send notification

of such filing to all parties counsel of record.



                                                   /S Gregory R. Singer
                                                   Gregory R. Singer, Esq. (# 19314)




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